               Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 1 of 63




 1   Edward R. Nelson (Pro Hac Vice to be submitted)
     Texas Bar No. 00797142
 2   Ryan P. Griffin (Pro Hac Vice to be submitted)
     Texas Bar No. 24053687
 3   Christopher G. Granaghan (Pro Hac Vice to be submitted)
     Texas Bar No. 24078585
 4   ed@nbafirm.com
     ryan@nbafirm.com
 5   chris@nbafirm.com
     NELSON BUMGARDNER ALBRITTON P.C.
 6   3131 West Seventh Street, Suite 300
     Fort Worth, Texas 76107
 7   Telephone: (817) 377-9111
     Facsimile: (817) 377-3485
 8
     Christopher D. Banys (SBN 230038)
 9   Richard C. Lin (SBN 209233)
     Jennifer L. Gilbert (SBN 255820)
10   cdb@banyspc.com
     rcl@banyspc.com
11   jlg@banyspc.com
     BANYS, P.C.
12   1030 Duane Avenue
     Santa Clara, CA 95054
13   Telephone: (650) 308-8505
     Facsimile: (650) 353-2202
14
     Attorneys for Plaintiff
15   FIRSTFACE CO., LTD.
16
                                     UNITED STATES DISTRICT COURT
17
                                  NORTHERN DISTRICT OF CALIFORNIA
18

19   FIRSTFACE CO., LTD.,
                                                        CASE NO. 18-CV-2245
20          Plaintiff,
                                                        ORIGINAL COMPLAINT
21   v.                                                 FOR PATENT INFRINGEMENT
22                                                      DEMAND FOR JURY TRIAL
     APPLE INC.,
23
            Defendant.
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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                               CASE NO.: 18-CV-2245
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 1           Plaintiff Firstface Co., Ltd. files this Original Complaint against Apple Inc. for infringement of

 2 U.S. Patent No. 8,831,557 (“the ’557 patent”), U.S. Patent No. 9,633,373 (“the ’373 patent”), and U.S.

 3 Patent No. 9,779,419 (“the ’419 patent”).

 4                                                   THE PARTIES

 5           1.      Firstface Co., Ltd. (“Firstface”) is a corporation organized and existing under the laws of

 6   the Republic of Korea with a principal place of business at 22F, Seoul City Tower, 110, Huam ro, Jung-

 7   Gu, Seoul, 04637, Korea.

 8           2.      Apple Inc. (“Apple”) is a California corporation with its principal place of business in

 9   Cupertino, California, within the Northern District of California. This Defendant may be served with

10   process through its agent, CT Corporation System, 818 West Seventh Street, Suite 930, Los Angeles,

11   California 90017. Apple does business in the State of California and in the Northern District of

12   California.

13                                          JURISDICTION AND VENUE

14           3.      This action arises under the patent laws of the United States, namely 35 U.S.C. §§ 271,

15   281, and 284-285, among others.

16           4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

17           5.      Venue is proper in this judicial district under 28 U.S.C. § 1400(b). Apple resides in this

18   district, has committed acts of infringement in this district, and has a regular and established place of

19   business in this district.

20           6.      Apple is subject to this Court’s specific and general personal jurisdiction pursuant to due

21   process and/or the California Long Arm Statute, due at least to its substantial business in this State and

22   judicial district, including: (1) at least part of its infringing activities alleged herein; and (2) regularly

23   doing or soliciting business, engaging in other persistent conduct, and/or deriving substantial revenue

24   from goods sold and services provided to California residents.

25                                                      COUNT I

26                                (INFRINGEMENT OF U.S. PATENT NO. 8,831,557)

27           7.      Firstface incorporates paragraphs 1 through 6 herein by reference.

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT             1                                  CASE NO.: 18-CV-2245
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 1          8.       Firstface is the assignee of the ’557 patent, entitled “Method, System, and Mobile

 2   Communication Terminal for Performing Specific Function When Mobile Communication Terminal Is

 3   Activated,” with ownership of all substantial rights in the ’557 patent, including the right to exclude

 4   others and to enforce, sue, and recover damages for past, present, and future infringements. A true and

 5   correct copy of the ’557 patent is attached as Exhibit A.

 6          9.       The ’557 patent is valid, enforceable, and was duly issued in full compliance with Title 35

 7   of the United States Code.

 8          10.      Apple has directly infringed and/or indirectly infringed, and continues to directly infringe

 9   and/or indirectly infringe, one or more claims of the ’557 patent in this judicial district and elsewhere in

10   California and the United States, without the consent or authorization of Firstface, including at least

11   claims 1, 8, 9, and 15 by, among other things, making, using, offering for sale, selling, and/or importing

12   Apple mobile devices that support fingerprint authentication. Such Apple mobile devices include iPhone

13   5s, iPhone 6, iPhone 6 Plus, iPhone 6s Plus, iPhone SE, iPhone 7, iPhone 7 Plus, iPhone 8, iPhone 8 Plus,

14   iPad (2017 version, a/k/a the iPad (5th generation)), iPad (2018 version, a/k/a the iPad (6th generation)),

15   iPad Air 2, iPad mini 3, iPad mini 4, iPad Pro (12.9 inch) (1st generation), iPad Pro (9.7 inch) (1st

16   generation), iPad Pro (12.9 inch) (2nd generation), and iPad Pro (10.5 inch) (2nd generation). These

17   devices are collectively referred to in this Count as the “Accused Products.”

18          11.      Apple directly infringes the apparatus claims of the ’557 patent by making, using, offering

19   to sell, selling, and/or importing the Accused Products. Apple also directly infringes the ’557 patent by

20   making, using, selling, offering to sell, and/or importing the Accused Products to practice the claimed

21   methods. Apple is therefore liable for direct infringement.

22          12.      Specifically, each of the Accused Products has a display unit and an activation button (or

23   “home button”) that, when pressed, switches the display from an off state to an on state. Each of the

24   Accused Products also contains a user identification unit that uses fingerprint recognition to identify the

25   user simultaneously with switching the display from the off state to the on state. The user identification

26   function recognizes a user by comparing a fingerprint acquired by the activation button with fingerprint

27   information of a user stored in the device.

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT           2                                CASE NO.: 18-CV-2245
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 1          13.        Additionally, Apple is liable for indirect infringement of the ’557 patent because it

 2   induces and/or contributes to the direct infringement of the patent by its customers and other end users.

 3          14.        Apple learned of the ’557 patent in early 2015 when Firstface presented Apple with an

 4   opportunity to purchase and/or license Firstface’s patent portfolio, including the ’557 patent. Apple also

 5   has knowledge of the ’557 patent at least based on filing and service of this Complaint.

 6          15.        Despite having knowledge of the ’557 patent, Apple has specifically intended, and

 7   continues to specifically intend, for persons who acquire and use the Accused Products, including its

 8   customers, to use such devices in a manner that infringes the ’557 patent. This is evident when Apple

 9   encourages and instructs customers and other end users in the use and operation of the Accused Products,

10   including use of the activation button to turn on the display and unlock the device using fingerprint

11   authentication.

12          16.        In particular, despite having knowledge of the ’557 patent, Apple has provided, and

13   continues to provide, instructional materials, such as user guides, owner manuals, and similar online

14   resources (available via https://support.apple.com, for instance) that specifically teach and encourage

15   customers and other end users to use the Accused Products in an infringing manner. By providing such

16   instructions, Apple knows (and has known), or should know (and should have known), that its actions

17   have actively induced, and continue to actively induce, infringement.

18          17.        Additionally, Apple knows, and has known, that the Accused Products include proprietary

19   hardware components and software instructions that work in concert to perform specific, intended

20   functions. Such specific, intended functions, carried out by these hardware and software combinations,

21   are a material part of the inventions of the ’557 patent and are not staple articles of commerce suitable for

22   substantial non-infringing uses.

23          18.        Specifically, each Accused Product contains memory and a processor that are specifically

24   programmed and/or configured to implement the functionality described in paragraph 12, which infringes

25   the ’557 patent. Apple is, thus, liable for contributory infringement.

26          19.        Firstface has been damaged as a result of Apple’s infringing conduct described in this

27   Count. Apple is, thus, liable to Firstface in an amount that adequately compensates it for Apple’s

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT             3                               CASE NO.: 18-CV-2245
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 1   infringements, which, by law, cannot be less than a reasonable royalty, together with interest and costs as

 2   fixed by this Court under 35 U.S.C. § 284.

 3          20.      Despite having knowledge of the ’557 patent, and knowledge that it is potentially directly

 4   and/or indirectly infringing claims of the ’557 patent, Apple has nevertheless continued its infringing

 5   conduct in an egregious manner. On information and belief, Apple reviewed the claims of the ’557

 6   patent, yet continued to manufacture and sell infringing products. At the very least, Apple was willfully

 7   blind to the ’557 patent and its application to the Accused Products. For at least these reasons, Apple’s

 8   infringing activities have been, and continue to be, willful, wanton, and deliberate in disregard of

 9   Firstface’s rights with respect to the ’557 patent, justifying enhanced damages under 35 U.S.C. § 284.

10                                                    COUNT II

11                             (INFRINGEMENT OF U.S. PATENT NO. 9,633,373)

12          21.      Firstface incorporates paragraphs 1 through 20 herein by reference.

13          22.      Firstface is the assignee of the ’373 patent, entitled “Activating Display and Performing

14   Additional Function in Mobile Terminal With One-Time User Input,” with ownership of all substantial

15   rights in the ’373 patent, including the right to exclude others and to enforce, sue, and recover damages

16   for past, present, and future infringements. A true and correct copy of the ’373 patent is attached as

17   Exhibit B.

18          23.      The ’373 patent is valid, enforceable, and was duly issued in full compliance with Title 35

19   of the United States Code.

20          24.      Apple has directly infringed and/or indirectly infringed, and continues to directly infringe

21   and/or indirectly infringe, one or more claims of the ’373 patent in this judicial district and elsewhere in

22   California and the United States, without the consent or authorization of Firstface, including at least

23   claims 1-2, 4-6, and 11-14, by, among other things, making, using, offering for sale, selling, and/or

24   importing Apple mobile devices that support fingerprint authentication and Siri functionality, including

25 iPhone 5s, iPhone 6, iPhone 6 Plus, iPhone 6s Plus, iPhone SE, iPhone 7, iPhone 7 Plus, iPhone 8, iPhone

26 8 Plus, iPad (2017 version, a/k/a the iPad (5th generation)), iPad (2018 version, a/k/a the iPad (6th

27   generation)), iPad Air 2, iPad mini 3, iPad mini 4, iPad Pro (12.9 inch) (1st generation), iPad Pro (9.7

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT           4                                CASE NO.: 18-CV-2245
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 1   inch) (1st generation), iPad Pro (12.9 inch) (2nd generation), and iPad Pro (10.5 inch) (2nd generation).

 2   In addition, Apple has directly infringed and/or indirectly infringed, and continues to directly infringe

 3 and/or indirectly infringe, at least claims 10 and 18 of the ’373 patent in this judicial district and

 4 elsewhere in California and the United States, by, among other things, making, using, offering for sale,

 5   selling and/or importing Apple smartphones that support fingerprint authentication and Siri functionality,

 6   including iPhone 5s, iPhone 6, iPhone 6 Plus, iPhone 6s Plus, iPhone SE, iPhone 7, iPhone 7 Plus, iPhone

 7   8, and iPhone 8 Plus. The devices listed in this paragraph are collectively referred to in this Count as the

 8 “Accused Products.”

 9          25.      Apple directly infringes the apparatus claims of the ’373 patent by making, using, offering

10 to sell, selling, and/or importing the Accused Products. Apple also directly infringes the ’373 patent by

11 making, using, selling, offering to sell, and/or importing the Accused Products to practice the claimed

12 methods. Apple is therefore liable for direct infringement.

13          26.      Specifically, each of the Accused Products (many of which are smartphones) has a touch

14 screen display, a camera, a power button configured to turn on and off the device by pressing, and an

15 activation button (or “home button”) separate from the power button and located outside the touchscreen

16 display that, when pressed, turns on the touch screen display and can initiate one or more additional

17   functions of the device. Each Accused Product includes a fingerprint authentication function (performed

18   by a user identification module and configured in user settings) and a Siri function (a hands-free

19   function). Upon pressing of the activation button (sensed by an activation sensor), each Accused Product

20   is configured to turn on the touch screen display and perform fingerprint authentication (a first function).

21   A lock screen is displayed on the touch screen display while the fingerprint authentication is performed.

22 If the fingerprint authentication authenticates the user, the Accused Product is configured to release the

23   lock state. If the fingerprint authentication fails to authenticate the user, the Accused Product is

24   configured to continue the lock state and display a message (e.g., a “Try Again” message) on the touch

25   screen display. In addition, upon pressing of the activation button for longer than a reference time

26   period, each Accused Product is configured to activate the Siri functionality (a second function) after

27   turning on the touch screen display.

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT           5                                CASE NO.: 18-CV-2245
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 1          27.      Apple is also liable for indirect infringement of the ’373 patent because it induces and/or

 2   contributes to the direct infringement of the patent by its customers and other end users.

 3          28.      Apple has knowledge of the ’373 patent at least based on filing and service of this

 4   Complaint.

 5          29.      Despite having knowledge of the ’373 patent, Apple has specifically intended, and

 6   continues to specifically intend, for persons who acquire and use the Accused Products, including its

 7   customers, to use such devices in a manner that infringes the ’373 patent. This is evident when Apple

 8   encourages and instructs customers and other end users in the use and operation of the Accused Products,

 9   including use of the activation button to turn on the display, unlock the device using fingerprint

10   authentication, and activate Siri.

11          30.      In particular, despite having knowledge of the ’373 patent, Apple has provided, and

12   continues to provide, instructional materials, such as user guides, owner manuals, and similar online

13   resources (available via https://support.apple.com, for instance) that specifically teach and encourage

14   customers and other end users to use the Accused Products in an infringing manner. By providing such

15   instructions, Apple knows (and has known), or should know (and should have known), that its actions

16   have actively induced, and continue to actively induce, infringement.

17          31.      Additionally, Apple knows, and has known, that the Accused Products include proprietary

18   hardware components and software instructions that work in concert to perform specific, intended

19   functions. Such specific, intended functions, carried out by these hardware and software combinations,

20   are a material part of the inventions of the ’373 patent and are not staple articles of commerce suitable for

21   substantial non-infringing uses.

22          32.      Specifically, each Accused Product contains a memory and processor that are specifically

23   programmed and/or configured to implement the functionality described in paragraph 26, which infringes

24   the ’373 patent. Apple is, thus, liable for contributory infringement.

25          33.      Firstface has been damaged as a result of Apple’s infringing conduct described in this

26   Count. Apple is, thus, liable to Firstface in an amount that adequately compensates it for Apple’s

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT           6                               CASE NO.: 18-CV-2245
                  Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 8 of 63




 1   infringements, which, by law, cannot be less than a reasonable royalty, together with interest and costs as

 2   fixed by this Court under 35 U.S.C. § 284.

 3                                                   COUNT III

 4                             (INFRINGEMENT OF U.S. PATENT NO. 9,779,419)

 5          34.      Firstface incorporates paragraphs 1-33 herein by reference.

 6          35.      Firstface is the assignee of the ’419 patent, entitled “Activating Display and Performing

 7   User Authentication in Mobile Terminal With One-Time User Input,” with ownership of all substantial

 8   rights in the ’419 patent, including the right to exclude others and to enforce, sue, and recover damages

 9   for past, present, and future infringements. A true and correct copy of the ’419 patent is attached as

10   Exhibit C.

11          36.      The ’419 patent is valid, enforceable, and was duly issued in full compliance with Title 35

12   of the United States Code.

13          37.      Apple has directly infringed and/or indirectly infringed, and continues to directly infringe

14   and/or indirectly infringe, one or more claims of the ’419 patent in this judicial district and elsewhere in

15   California and the United States, without the consent or authorization of Firstface, including at least

16   claims 1-4, 6-7, 10, 12-13, and 15-17, by, among other things, making, using, offering for sale, selling,

17   and/or importing Apple mobile devices that support fingerprint authentication and Siri functionality.

18   Such Apple mobile devices include iPhone 5s, iPhone 6, iPhone 6 Plus, iPhone 6s Plus, iPhone SE,

19   iPhone 7, iPhone 7 Plus, iPhone 8, iPhone 8 Plus, iPad (2017 version, a/k/a the iPad (5th generation)),

20   iPad (2018 version, a/k/a the iPad (6th generation)), iPad Air 2, iPad mini 3, iPad mini 4, iPad Pro (12.9

21   inch) (1st generation), iPad Pro (9.7 inch) (1st generation), iPad Pro (12.9 inch) (2nd generation), and

22   iPad Pro (10.5 inch) (2nd generation). In addition, Apple has directly infringed and/or indirectly

23   infringed, and continues to directly infringe and/or indirectly infringe, at least claim 9 of the ’419 patent

24   in this judicial district and elsewhere in California and the United States, by, among other things, making,

25   using, offering for sale, selling and/or importing Apple smartphones that support fingerprint

26   authentication and Siri functionality, including iPhone 5s, iPhone 6, iPhone 6 Plus, iPhone 6s Plus,

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT           7                                CASE NO.: 18-CV-2245
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 1   iPhone SE, iPhone 7, iPhone 7 Plus, iPhone 8, and iPhone 8 Plus. The devices listed in this paragraph are

 2   collectively referred to in this Count as the “Accused Products.”

 3          38.      Apple directly infringes the apparatus claims of the ’419 patent by making, using, offering

 4   to sell, selling, and/or importing the Accused Products. Apple also directly infringes the ’419 patent by

 5   making, using, selling, offering to sell, and/or importing the Accused Products to practice the claimed

 6 methods. Apple is therefore liable for direct infringement.

 7          39.      Specifically, each of the Accused Products (many of which are smartphones) has a touch

 8 screen display, a camera, a power button that turns on and off the device by pressing, and an activation

 9 button separate from the power button and located outside the touchscreen display that, when pressed,

10 turns on the touch screen display. Each Accused Product includes a fingerprint authentication function

11 (performed by a user identification module and configured in user settings) and a Siri function (a hands-

12 free operation and an operation that involves playing a sound). Upon pressing of the activation button

13 (sensed by an activation sensor), each Accused Product is configured to turn on the touch screen display

14   and perform fingerprint authentication. A lock screen is displayed on the touch screen display while the

15   fingerprint authentication is performed. If the fingerprint authentication authenticates the user, the

16   Accused Product is configured to release the lock state. If the fingerprint authentication fails to

17   authenticate the user, the Accused Product is configured to continue the lock state and display a message

18   (e.g., a “Try Again” message) on the touch screen display. In addition, upon pressing of the activation

19   button for longer than a reference time period, each Accused Product is configured to activate the Siri

20   functionality after turning on the touch screen display.

21          40.      Apple is also liable for indirect infringement of the ’419 patent because it induces and/or

22   contributes to the direct infringement of the patent by its customers and other end users.

23          41.      Apple has knowledge of the ’419 based on filing and service of this Complaint.

24          42.      Despite having knowledge of the ’419 patent, Apple has specifically intended, and

25   continues to specifically intend, for persons who acquire and use the Accused Products, including its

26   customers, to use such devices in a manner that infringes the ’419 patent. This is evident when Apple

27   encourages and instructs customers and other end users in the use and operation of the Accused Products,

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT           8                               CASE NO.: 18-CV-2245
               Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 10 of 63




 1   including use of the activation button to turn on the display, unlock the device using fingerprint

 2   authentication, and activate Siri.

 3          43.     In particular, despite having knowledge of the ’419 patent, Apple has provided, and

 4   continues to provide, instructional materials, such as user guides, owner manuals, and similar online

 5   resources (available via https://support.apple.com, for instance) that specifically teach and encourage

 6   customers and other end users to use the Accused Products in an infringing manner. By providing such

 7   instructions, Apple knows (and has known), or should know (and should have known), that its actions

 8   have actively induced, and continue to actively induce, infringement.

 9          44.     Additionally, Apple knows, and has known, that the Accused Products include proprietary

10   hardware components and software instructions that work in concert to perform specific, intended

11   functions. Such specific, intended functions, carried out by these hardware and software combinations,

12   are a material part of the inventions of the ’419 patent and are not staple articles of commerce suitable for

13   substantial non-infringing uses.

14          45.     Specifically, each Accused Product contains a memory and processor that are specifically

15   programmed and/or configured to implement the functionality described in paragraph 39, which infringes

16   the ’419 patent. Apple is, thus, liable for contributory infringement.

17          46.     Firstface has been damaged as a result of Apple’s infringing conduct described in this

18   Count. Apple is, thus, liable to Firstface in an amount that adequately compensates it for Apple’s

19   infringements, which, by law, cannot be less than a reasonable royalty, together with interest and costs as

20   fixed by this Court under 35 U.S.C. § 284.

21                                                JURY DEMAND

22          Firstface hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

23   Procedure.

24                                            PRAYER FOR RELIEF

25          Firstface requests that the Court find in its favor against Apple, and that the Court grant Firstface

26   the following relief:

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT          9                                CASE NO.: 18-CV-2245
                 Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 11 of 63



            a.      Judgment that one or more claims of the ’557, ’373, and ’419 patents have been infringed,
 1                  either literally and/or under the doctrine of equivalents, by Apple and/or by others whose
                    infringements have been induced by Apple and/or by others to whose infringements Apple
 2                  contributed;
 3          b.      Judgment that Apple account for and pay to Firstface all damages to, and costs incurred
                    by, Firstface because of Apple’s infringing activities and other conduct complained of
 4                  herein;
 5          c.      Judgment that Apple account for and pay to Firstface a reasonable, ongoing, post-
                    judgment royalty because of Apple’s infringing activities and other conduct complained of
 6                  herein;
 7          d.      That Apple’s infringement of the ’557 patent be found willful from the time that Apple
                    became aware of the infringing nature of its products, and that the Court award treble
 8                  damages pursuant to 35 U.S.C. § 284;
 9          e.      That Firstface be granted pre-judgment and post-judgment interest on the damages caused
                    by Apple’s infringing activities and other conduct complained of herein; and
10
            f.      That Firstface be granted such other and further relief as the Court may deem just and
11                  proper under the circumstances.
12

13   Dated: April 13, 2018                               Respectfully submitted,
14                                                      /s/ Christopher D. Banys______  
15                                                      Edward R. Nelson (Pro Hac Vice to be submitted)
                                                        Texas Bar No. 00797142
16                                                      Ryan P. Griffin (Pro Hac Vice to be submitted)
                                                        Texas Bar No. 24053687
17                                                      Christopher G. Granaghan (Pro Hac Vice to be
                                                        submitted)
18                                                      Texas Bar No. 24078585
                                                        ed@nbafirm.com
19                                                      ryan@nbafirm.com
                                                        chris@nbafirm.com
20                                                      NELSON BUMGARDNER ALBRITTON P.C.
                                                        3131 West Seventh Street, Suite 300
21                                                      Fort Worth, Texas 76107
                                                        Telephone: (817) 377-9111
22                                                      Facsimile: (817) 377-3485
23                                                      Christopher D. Banys (SBN 230038)
                                                        Richard C. Lin (SBN 209233)
24                                                      Jennifer L. Gilbert (SBN 255820)
                                                        cdb@banyspc.com
25                                                      rcl@banyspc.com
                                                        jlg@banyspc.com
26                                                      BANYS, P.C.
                                                        1030 Duane Avenue
27                                                      Santa Clara, CA 95054
                                                        Telephone: (650) 308-8505
28

     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT         10                              CASE NO.: 18-CV-2245
               Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 12 of 63



                                                  Facsimile: (650) 353-2202
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                                                   Attorneys for Plaintiff FIRSTFACE CO., LTD.
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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT   11                          CASE NO.: 18-CV-2245
Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 13 of 63




          Exhibit “A”
             Case 3:18-cv-02245-JD Document 1 Filed 04/13/18 Page 14 of 63
                                                                                                 US008831557B2


(12) United States Patent                                                     (10) Patent No.:                    US 8,831,557 B2
       Jung et al.                                                            (45) Date of Patent:                              Sep. 9, 2014
(54) METHOD, SYSTEM, AND MOBILE                                                  USPC ............................................... 455/404.2, 566
       COMMUNICATION TERMINAL FOR                                                See application file for complete search history.
       PERFORMING SPECIFIC FUNCTION WHEN
       MOBILE COMMUNICATION TERMINALIS                                   (56)                      References Cited
       ACTIVATED
                                                                                           U.S. PATENT DOCUMENTS
(75) Inventors: Jae Lark Jung, Goyang-si (KR):
                Kyoung Duck Bae, Seoul (KR)                                     6,636,732 B1 * 10/2003 Boling et al. .............. 455,404.1
                                                                                7,668,829 B2*       2/2010 Chu et al. ...              ... 455,412.1
(73) Assignee: IdeaZZan Company, Inc., Seoul (KR)                               8,538,370 B2 * 9/2013 Ray et al. ...........            . . 455,404.1
                                                                          2003/0018395 A1           1/2003 Crinkovich et al. ............. TOOf 11
                                                                          2006/0142071 A1* 6/2006 Stephens ............                    455,575..1
(*) Notice:         Subject to any disclaimer, the term of this           2008/006661.0    A1   3/2008        Chu et al. ........................ 84.609
                    patent is extended or adjusted under 35               2008/0070622
                                                                          2010.0102939
                                                                                           A1
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                                                                                                3/2008
                                                                                                4/2010
                                                                                                              Lee ............................ 455,556.1
                                                                                                              Stewart
                    U.S.C. 154(b) by 0 days.                              2012/005283.6    A1   3/2012        Buratti et al. .............. 455,404.2
                                                                          2012/0302200     A1* 11/2012        Esbensen .......             ... 455,404.2
(21) Appl. No.: 13/590,483                                                2013/0102273 A1* 4/2013 Jung et al. ...            ... 455,404.2
                                                                          2013/0102363 A1* 4/2013 Jung et al. ..................... 455,566
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(51) Int. Cl.                                                            Primary Examiner — Charles Shedrick
       H04M II/04                 (2006.01)                              (74) Attorney, Agent, or Firm — The PL Law Group, PLLC
       H04M 1/725                 (2006.01)
       HO4W 4/22                  (2009.01)                              (57)                        ABSTRACT
       HO4W 4/O2                  (2009.01)
       HO4M 1/67                  (2006.01)                              Provided is a mobile communication terminal including a
(52) U.S. Cl.                                                            display unit and an activation button configured to Switch
       CPC ............ H04M 1/72519 (2013.01); H04W 4/22                from an inactive state, which is an OFF state of the display
                    (2013.01); H04W 4/02 (2013.01); H04M                 unit, to an active state, which is an ON state of the display unit,
                2250/52 (2013.01); H04M I/7258 (2013.01);                wherein a predetermined operation is performed simulta
                                     H04M I/67 (2013.01)                 neously with Switching to the active state by pressing the
       USPC ........................................ 455/404.2:455/566   activation button.
(58) Field of Classification Search
       CPC .................................. H04W 4/02; H04W 4/22                         15 Claims, 5 Drawing Sheets
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                                   FIG. 1

              100                   130
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              FIG 2
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        FIG 3A




                     Activation sensing unit

                       Health sensing unit

               Health information transmission init


        FIG. 3B




                    Camera activation eierrerit


                    Eyebai detection element

              Health information acquisition element
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        FIG. 4A




                          Activation sensing init

                           iser identification      it


        FIG. 4B




                        Carera activation eierrent


                           iris detection element


                        Riser identification eierrett


        FIG. 5



                         Activation sensing unit

                  Location infortation collection unit


                  location infortation trainst tission init
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FIG. 6


  O                                                     Communication
                                                             tfit        *   Y-w
                                                                                   24.



   2----          Application providing Erit

       2O ---       Activation sensing unit

      23.-----     Application driving unit


                                                             250
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                                  1.                                                                         2
           METHOD, SYSTEM, AND MOBILE                                            According to an exemplary embodiment, there is provided
       COMMUNICATION TERMINAL FOR                                             a mobile communication terminal including: a display unit;
    PERFORMING SPECIFIC FUNCTION WHEN                                         and an activation button configured to Switch from an inactive
    MOBILE COMMUNICATION TERMINALIS                                           state, which is an OFF state of the display unit, to an active
                ACTIVATED                                                     state, which is an ON state of the display unit, wherein a
                                                                              predetermined operation is performed simultaneously with
              CROSS-REFERENCE TO RELATED                                      Switching to the active state by pressing the activation button.
                     APPLICATION                                                 According to another exemplary embodiment, there is pro
                                                                              vided a method of performing a specific function when a
  This application claims the benefit of Korean Patent Appli             10   mobile communication terminal is activated, including: sens
cation No. 10-2011-0106839, filed on Oct. 19, 2011, and all                   ing whether or not an activation button has been pressed to
the benefits accruing therefrom under 35 U.S.C. S 119 which                   switch from an inactive state, which is an OFF state of a
is hereby incorporated by reference as if fully set forth herein.             display unit, to an active state, which is an ON state of the
                                                                              display unit; and performing a predetermined operation
                        BACKGROUND                                       15   within the mobile communication terminal simultaneously
                                                                              with Switching to the active state if the pressing of the acti
   1. Field                                                                   Vation button has been sensed in the inactive state.
  The disclosure relates to a method, a system, and a mobile                    According to still another exemplary embodiment, there is
communication terminal for performing a specific function                     provided a system for providing a service to operate a specific
when a mobile communication terminal is activated, and                        function when a mobile communication terminal is activated,
more particularly to a method, a system, and a mobile com                     including: an activation sensing unit configured to receive a
munication terminal for performing various functions                          sensing signal indicating Switching from an inactive state,
according to the number of presses or a press time of a button                which is an OFF state of the display unit, to an active state,
for Switching from an inactive state to an active state.                      which is an ON state of the display unit, from the mobile
   2. Description of the Related Art                                     25   communication terminal; and an application driving unit con
   Recently, various terminals, for example, Such as Smart                    figured to control a predetermined operation to be performed
phones, mobile phones, personal digital assistants (PDAs),                    within the mobile communication terminal according to the
and web pads, having not only communication functions but                     Switching to the active state.
also various other functions have come into wide use. These
terminals have rapidly been generalized because not only can             30          BRIEF DESCRIPTION OF THE DRAWINGS
an environment identical or similar to a desktop computer be
implemented anytime and anywhere on the above-described                         Exemplary embodiments are described in further detail
terminals, but they also include a telephone function.                        below with reference to the accompanying drawings. It
   At present, in order to operate a corresponding function                   should be understood that various aspects of the drawings
among various functions included in a terminal Such as those             35   may have been exaggerated for clarity:
described above, a certain operation should be performed in a                   FIG. 1 is a diagram illustrating an external appearance of a
state in which the terminal is in an active state, that is, in a state        mobile communication terminal according to an exemplary
in which a display is turned on. In addition, in order to add a               embodiment of the present invention;
certain function, an interface or button for performing the                     FIG. 2 is a diagram illustrating an example of an operation
function should be added to the terminal. For example, it is             40   of the mobile communication terminal when an activation
possible to transmit a rescue signal indicating an emergency                  button has been pressed according to an exemplary embodi
or urgent situation by pressing an emergency button only                      ment of the present invention;
when the emergency button for the urgent situation is sepa                       FIGS. 3A and 3B are block diagrams illustrating the opera
rately added.                                                                 tion of the mobile communication terminal according to an
  On the other hand, users of the terminals described above              45   exemplary embodiment of the present invention;
perform operations of habitually taking out and activating the                   FIGS. 4A and 4B are block diagrams illustrating the opera
terminals on the move or in a standby state while carrying the                tion of the mobile communication terminal according to
terminals.                                                                    another exemplary embodiment of the present invention;
                                                                                 FIG. 5 is a block diagram illustrating the operation of the
                           SUMMARY                                       50   mobile communication terminal according to still another
                                                                              exemplary embodiment of the present invention; and
   Exemplary embodiments provide technology for enabling                         FIG. 6 is a block diagram illustrating an operation of a
an advantageous function to be utilized with only a simple                    system according to an exemplary embodiment of the present
operation of pressing an activation button that is habitually                 invention.
pressed by connecting various operations to the activation               55
button provided in a terminal.                                                                 DETAILED DESCRIPTION
   Exemplary embodiments provide technology for enabling
health check of an aged person to be performed with only a                       In the following detailed description, reference is made to
simple operation and enabling information regarding the                       the accompanying drawings that show, by way of illustration,
health check to be transmitted to a protector or a medical               60   specific embodiments in which the invention may be prac
authority.                                                                    ticed. These embodiments are described in sufficient detail to
   Exemplary embodiments provide technology for enabling                      enable those skilled in the art to practice the invention. It is to
a user authentication process of which the security is                        be understood that the various embodiments of the invention,
enhanced to be operable with only a simple procedure.                         although different, are not necessarily mutually exclusive.
   Exemplary embodiments provide technology for enabling                 65   For example, a particular feature, structure, or characteristic
an urgent message to be transmitted along with location infor                 described herein in connection with one embodiment may be
mation with only a simple operation in an urgent situation.                   implemented within other embodiments without departing
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from the spirit and scope of the present invention. Also, it is to        on the other side on which the display unit 110 is not provided
be understood that the positions or arrangements of individual            in the mobile communication terminal 100.
elements in the embodiment may be changed without sepa                      The display unit 110 displays various information regard
rating the spirit and scope of the present invention. The fol             ing operation states of the mobile communication terminal
lowing detailed description is, therefore, not to be taken in a           100, and also displays an interface for a user's input if the
limiting sense, and the scope of the present invention is                 mobile communication terminal 100 drives a touchscreen. In
defined only by the appended claims that should be appropri               general, if a state in which the user's operation on the mobile
ately interpreted along with the full range of equivalents to             communication terminal 100 is absent continues for a prede
which the claims are entitled. In the drawings, like reference            termined period of time, the mobile communication terminal
numerals identify like or similar elements or functions
                                                                     10   100 is in the inactive state. The user's operation refers to an
through the several views.                                                input through the interface displayed on the display unit 110.
   Hereinafter, exemplary embodiments of the present inven                an operation through the button 120, oran operation through
                                                                          a function key (for example, a Volume control key or the like).
tion will be explained in detail with reference to the accom              A condition in which the inactive state is reached can be set by
panying drawing so that those skilled in the art can easily          15   the user. For example, the condition can be set using a setting
practice the invention.                                                   menu through the interface displayed on the display unit 110.
 Exemplary Embodiments of Present Invention                               On the other hand, the state can be switched to the inactive
  The term “mobile communication terminal used herein                     state by pressing another button (for example, an ON/OFF
refers to a digital device that includes a memory means and a             button) provided on the mobile communication terminal 100.
microprocessor with computing capability as in a mobile                   For example, the mobile communication terminal 100 can be
phone, a navigation system, a web pad, a PDA, a workstation,              completely turned off if the ON/OFF button is pressed for a
a personal computer (for example, a notebook computer or                  long time when the mobile communication terminal 100 is in
the like) as a digital device including wired/wireless commu              the active state, but the mobile communication terminal 100
nication functions or other functions. Although an example of             can be in the inactive state as a communicable state in which
the mobile communication terminal (for example, a mobile             25   a phone call can be received if the ON/OFF button is pressed
phone) will be described in part of this specification, the               for a short time.
present invention is not limited thereto.                                   The activation button 120 is means for switching the
  The term “inactive state' used herein refers to a state in              mobile communication terminal 100 from the inactive state to
which the mobile communication terminal is communicable                   the active state. That is, if the user presses the activation
but a display screen is turned off Even when the display             30   button 120 when the mobile communication terminal 100 is
screen is turned off, a predetermined function (for example, a            in the inactive state, Switching to the active state is performed.
music play function or the like) is operable. As described                FIG. 1 illustrates a state in which a lock screen is displayed on
above, the term “inactive state' used herein refers to a concept          the display unit 110 after pressing the activation button 120
encompassing states in which the display Screen is turned off.            when the mobile communication terminal 100 is in the inac
regardless of whether or not the mobile communication ter            35   tive state. However, the activation button 120 can function as
minal performs a predetermined operation. However, a state                means for another operation (for example, means for moving
in which the mobile communication terminal is completely                  to a standby screen while a certain operation state is displayed
turned off is excluded.                                                   on the display unit 110 or means for displaying a list of
  The term “active state' used herein refers to a state in which          programs currently being operated).
the display screen of the mobile communication terminal is           40      According to an exemplary embodiment of the present
turned on. Switching from the “inactive state' to the “active             invention, if the user presses the activation button 120 when
state' refers to switching of the display screen from the OFF             the mobile communication terminal 100 is in the inactive
state to the ON state, regardless of information displayed on             state, the mobile communication terminal 100 performs a
the display screen in the ON state. For example, the mobile               predetermined operation instead of Switching to the active
communication terminal can be determined to be in the                45   state. When the mobile communication terminal 100 is in the
“active state' even when only a lock screen is displayed.                 inactive state, the user can Setan operation to be performed by
Configuration of Mobile Communication Terminal                            pressing the activation button 120. For example, an operation
   FIG. 1 is a diagram illustrating an external appearance of             of the mobile communication terminal 100 connected to the
the mobile communication terminal according to an exem                    activation button 120 can be set using a setting menu through
plary embodiment of the present invention.                           50   the interface displayed on the display unit 110. In addition,
   Referring to FIG. 1, the mobile communication terminal                 according to an exemplary embodiment of the present inven
100 according to this exemplary embodiment can include a                  tion, an operation which differs according to the number of
display unit 110 and an activation button 120. The mobile                 presses or a press time of the activation button 120 can be
communication terminal 100 can further include a camera                   performed when the mobile communication terminal 100 is
130.                                                                 55   in the inactive state. For example, a first operation can be set
  Although the display unit 110 is provided on the front side             to be performed if the activation button 120 is pressed once,
of a frame constituting the mobile communication terminal                 and a second operation can be set to be performed if the
100, the activation button 120 is provided on a lower part of             activation button 120 is continuously pressed three times. In
the display unit 110, and the camera 130 is provided on an                addition, as another example, the first operation can be set to
upperpart of the display unit 110 as illustrated in FIG. 1, other    60   be performed if the activation button 120 is pressed once for
forms may be configured. For example, the display unit 110                a short time, and the second operation can be set to be per
need not necessarily be formed on the entire surface of the               formed if the activation button 120 is pressed once for a long
mobile communication terminal 100. That is, the display unit              time. The mobile communication terminal 120 can include a
110 is only required to be formed on at least part of the mobile          predetermined clock circuit or timer to calculate the cumula
communication terminal 100, and the activation button 120 is         65   tive number of continuous presses of the activation button 120
only required to be formed on a part different from that of the           and measure a period of time for which the activation button
display unit 110. In addition, the camera 130 can be formed               120 is pressed. For example, the number of presses is deter
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mined to be two if the activation button 120 is re-pressed              functions. FIGS. 3A and 3B illustrate functional block dia
withina threshold time after one press. If the activation button        grams illustrating the above-described functions of the
120 is pressed for the threshold time or more, a long press of          mobile communication terminal 100.
the activation button 120 can be determined. Operations                   Referring to FIG. 3A, the mobile communication terminal
capable of being performed by pressing the activation button       5    100 can include an activation sensing unit 310, a health sens
120 in the inactive state will be described later.                      ing unit 320, and a health information transmission unit 330.
   According to an exemplary embodiment of the present                    When the mobile communication terminal 100 is in the
invention, a sub-display unit 121 can be provided on the                inactive state, the activation sensing unit 310 senses whether
activation button 120. Information regarding an operation to            or not the user has pressed the activation button 120.
be performed by pressing the activation button 120 can be          10      The health sensing unit 320 is operated when the activation
displayed on the Sub-display unit 121. Various types such as a          sensing unit 310 has sensed that the activation button 120 has
shape, a character, a graphic, and color can be displayed.              been pressed, and senses a health State of the user in various
When the display type is the shape, a circle, a triangle, a             methods.
rectangle, a hexagon, or the like can be displayed. For                    FIG. 3B is a block diagram illustrating an example of the
example, the circle can be displayed on the Sub-display unit       15   health sensing unit 320. Referring to FIG. 3B, the health
121 when the first operation is set to be performed by pressing         sensing unit 320 can include a camera activation element 321,
the activation button 120, and the triangle can be displayed on         an eyeball detection element 322, and a health information
the sub-display unit 121 when the second operation is set to be         acquisition element 323.
performed by pressing the activation button 120, and vice                 The camera activation element 321 activates the camera
Versa. A display type of the Sub-display unit 121 and a corre           130 provided in the mobile communication terminal 100.
spondence relationship between operations and displays can              According to the activation of the camera 130, a video cur
also be set by the user. For example, the user can select the           rently captured by the camera 130 is displayed on the display
first operation as the operation to be performed by pressing            unit 110. If an eye or face of the user is imaged by the camera
the activation button 120 from a setting menu and select the            130, the eyeball detection element 322 performs a function of
triangle as the display type of the sub-display unit 121 of the    25   recognizing and extracting an eyeball of the user. A general
activation button 120. Accordingly, the user can recognize              eyeball detection algorithm can be used for eyeball detection.
that the first operation is performed when the user has pressed         The health information acquisition element 323 acquires
the activation button 120 because the triangle is displayed on          various health information through the eyeball detected
the sub-display unit 121 even when the mobile communica                 through the eyeball detection element 322. It is possible to
tion terminal 100 is in the inactive state.                        30   recognize a stress index, a diabetes index, or retinal diseases
   Although the sub-display unit 121 can be implemented by              of the user through a color or health state of the eyeball. A
a general display such as liquid crystal, a liquid crystal dis          well-known algorithm in the related art can be used as an
play (LCD), or a light emitting diode (LED), the present                algorithm for detecting health information from characteris
invention is not limited thereto.                                       tics of the detected eyeball.
  An operation of controlling driving of the display unit 110      35      The health information acquired as described above can be
and the sub-display unit 121 can be performed in the same               transmitted by the health information transmission unit 330 to
processor and the same method or in different processors and            the mobile communication terminal of a protector, a medical
different methods.                                                      authority Such as a doctor or the like, or a predetermined
   Hereinafter, various exemplary embodiments for opera                 server. Information regarding the protector (for example, a
tions of the mobile communication terminal 100 capable of          40   phone number or an e-mail address) can be stored in advance.
being performed by pressing the activation button 120 will be           The acquired health information can be displayed on the
described.                                                              display unit 110 so that the user can check the acquired health
   Operations through Activation Button                                 information.
   Operations to be described below can be performed by                    The above-described operations, that is, the eyeball detec
pressing the activation button 120 when the mobile commu           45   tion function and the health sensing function based on infor
nication terminal 100 is in the inactive state, and set by the          mation regarding the detected eyeball, can be performed by
user. The operations described below are only examples. Of              installing a predetermined application. That is, the applica
course, other operations can be performed by pressing the               tion includes an eyeball detection algorithm and a health
activation button 120.                                                  sensing algorithm, so that the operations as described above
   1. Camera Activation Function                                   50   can be performed by installing the application in the mobile
   When the mobile communication terminal 100 is in the                 communication terminal 100. The user can download this
inactive state, the camera 130 provided in the mobile com               application and install the downloaded application in the
munication terminal 100 can be activated by pressing the                mobile communication terminal 100. In addition, although an
activation button 120, and a screen currently imaged by the             example of only health sensing through eyeball detection has
camera 130 can be displayed on the display unit 110.               55   been described above, it is possible to install an application,
   FIG. 2 is a diagram illustrating an example in which the             for example, for health sensing through face detection, and
camera 130 is activated after the activation button 120 is              connect the application to the activation button 120. The user
pressed and an imaged scene is displayed on the display unit            can use the functions as described above by setting the appli
110.                                                                    cation to be operated immediately when the activation button
  2. Health Sensing and Health Information Transmission            60   120 is pressed through the setting menu in the inactive state of
Functions                                                               the mobile communication terminal 100.
  When the mobile communication terminal 100 is in the                    In general, aged persons may not use the health sensing
inactive state, the health sensing function can be driven, so           function due to a difficult operation even when the health
that sensed health information can be transmitted to a medical          sensing function is provided in the mobile communication
authority Such as a doctor or a protector.                         65   terminal 100. However, according to the above-described
   FIGS. 3A and 3B are block diagrams of the mobile com                 exemplary embodiment of the present invention, the health
munication terminal 100 illustrating the above-described                sensing function is operated only by pressing the activation
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button 120 without a special operation. Accordingly, it is              activation button 120, when the mobile communication ter
possible to easily check health information and transmit the            minal 100 is used in a region vulnerable to the security risks.
health information to a protector or a doctor.                             Although an example of an authentication method through
  3. User Identification Function                                       iris recognition has been described above, other authentica
  When the mobile communication terminal 100 is in the                  tion methods, for example, an authentication key matching
inactive state, a user authentication process can be performed          method, a password matching method, a face recognition
for security by pressing the activation button 120.                     method, a fingerprint recognition method, and the like, can be
   FIGS. 4A and 4B illustrate block diagrams of the mobile              used. That is, one or more authentication methods can be
communication terminal 100 illustrating the above-described        10
                                                                        performed by pressing the activation button 120.
functions. Referring to FIG. 4A, the mobile communication                 4. Location Information Transmission Function
terminal 100 can include an activation sensing unit 410 and a             When the mobile communication terminal 100 is in the
user identification unit 420.                                           inactive state, collected location information can be transmit
  When the mobile communication terminal 100 is in the                  ted to a protector or a protection authority (a police station or
inactive state, the activation sensing unit 410 senses whether     15   a fire station) by pressing the activation button 120.
or not the user has pressed the activation button 120.                     FIG. 5 illustrates a block diagram of the mobile commu
   If the activation sensing unit 410 senses that the activation        nication terminal 100 illustrating the above-described func
button 120 has been pressed, the user identification unit 420           tion. Referring to FIG. 5, the mobile communication terminal
operates the user identification function in various methods.           100 can include an activation sensing unit 510, a location
   FIG. 4B is a block diagram illustrating an example of the            information collection unit 520, and a location information
user identification unit 420. Referring to FIG. 4B, the user            transmission unit 530.
identification unit 420 can include a camera activation ele               When the mobile communication terminal 100 is in the
ment 421, an iris detection element 422, and a user identifi            inactive state, the activation sensing unit 510 senses whether
cation element 423.                                                     or not the user has pressed the activation button 120.
   The camera activation element 421 activates the camera          25      When the activation sensing unit 510 senses that the acti
130 provided in the mobile communication terminal 100.                  vation button 120 has been pressed, the location information
According to the activation of the camera 130, a video cur              collection unit 520 collects a current location using a global
rently captured by the camera 130 is displayed on the display           positioning system (GPS) sensor or other location sensors.
unit 110. If an eye or face of the user is imaged by the camera            The location information transmission unit 530 performs a
130, the iris detection element 422 performs a function of         30
                                                                        function of transmitting location information collected by the
recognizing and extracting an iris from an eyeball of the user.         location information collection unit 520 to a protector or a
A general iris detection algorithm can be used for iris recog           protection authority. In an urgent situation, a message indi
nition. The user identification element 423 performs a func             cating the urgent situation can be transmitted along with the
tion of comparing the iris detected by the iris detection ele
ment 422 to pre-stored iris information of the user, and           35   location information. The location information and the urgent
authenticating the current user as a true user if the two match.        message can be optionally transmitted. On the other hand,
For this, the user identification element 423 can use iris infor        this operation may differ according to the number of presses
mation of the user pre-stored in a database (not illustrated).          or a press time of the activation button 120. For example, it is
The iris information of the user can be stored by registering           possible to set an operation of transmitting the urgent mes
information regarding the iris detected by the iris detection      40   sage to a police station along with the location information
element 422 using a video of the true user first captured by the        when the activation button 120 is pressed for a short time, and
camera 130. Predetermined identification information (for               set an operation of transmitting only the location information
example, an identifier (ID), a password, a social security              to the protector when the activation button 120 is pressed for
number, or the like) should be input to change the registered           a long time. In addition, as another example, it is possible to
iris information of the true user. If the user identification      45   set an operation of transmitting the location information to
element 423 authenticates the current user as the true user, the        the police station along with the urgent message when the
lock state of the mobile communication terminal 100 is                  activation button 120 is pressed once and set an operation of
released and all functions are available. If the current user is        transmitting the location information to a fire station along
not authenticated as the true user, the lock state continues            with the urgent message when the activation button 120 is
along with a display of an alarm message.                          50   pressed three times.
  The above-described operations, that is, the iris detection              The above-described operations can be performed by
function, the user identification function, and the user authen         installing a predetermined application. That is, the applica
tication function, can be performed by installing a predeter            tion includes an algorithm for collecting location information
mined application. That is, the application includes the iris           and transmitting the collected located information along with
detection algorithm and the authentication algorithm based         55   an urgent message, so that the operations as described above
on an iris comparison, so that the operations as described              can be performed by installing the application in the mobile
above can be performed by installing the application in the             communication terminal 100. The user can download this
mobile communication terminal 100. The user can download                application and install the downloaded application in the
this application and install the downloaded application in the          mobile communication terminal 100. The user can use the
mobile communication terminal 100. The user can use the            60   functions as described above by setting the application to be
functions as described above by setting the application to be           operated immediately when the activation button 120 is
operated immediately when the activation button 120 is                  pressed through the setting menu in the inactive state of the
pressed through the setting menu in the inactive state of the           mobile communication terminal 100.
mobile communication terminal 100.                                         Accordingly, it is possible to efficiently escape a dangerous
   Accordingly, it is possible to efficiently reduce security      65   situation because the user can report the dangerous situation
risks by setting the user authentication process to be per              to a protector or a protection authority along with his/her
formed through a separate setting, that is, by pressing the             location information with only a simple operation.
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                                                                                                    10
  5. File Transmission Function                                            Operation Standby of Application
  When the mobile communication terminal 100 is in the                     According to an exemplary embodiment of the present
inactive state, a function of uploading content (for example,           invention, the above-described predetermined applications
contact information, a photo, a moving image, or an applica             are driven when the mobile communication terminal 100 is
tion) included in the mobile communication terminal 100 to              switched from the inactive state to the active state.
another mobile communication terminal 100 or a media space                For this, when the mobile communication terminal 100 is
(for example, a personal media space Such as Twitter, Face              in the inactive state, the applications should be maintained in
book, or a blog or a community media space such as a café or            an operation standby State. When the mobile communication
club community) can be operated.                                        terminal 100 is switched from the active state to the inactive
   6. Mode Change During Drive                                     10   state, the above-described applications can be in the operation
  When the mobile communication terminal 100 is in the                  standby state. That is, a selected application to be driven when
                                                                        the mobile communication terminal 100 is switched to the
inactive state, the mobile communication terminal 100 can be            active state can be in the operation standby state when the
Switched to a hands-free function or some communication                 mobile communication terminal 100 is switched to the inac
functions (a voice communication function, a short message         15   tive state.
service (SMS) function, and an Internet function) of the                  However, a predetermined application operable when the
mobile communication terminal 100 can be interrupted by                 mobile communication terminal 100 is switched from the
pressing the activation button 120.                                     inactive state to the active state regardless of the operation
   Accordingly, it is possible to significantly reduce traffic          standby state or an operation disable state of the application
accident risks by Switching the mode of the mobile commu                belongs to the present invention.
nication terminal 100 or interrupting the communication                    Service Providing Server
function with only a simple operation of pressing the activa               Hereinafter, the service providing server according to an
tion button 120 during driving.                                         exemplary embodiment will be described.
   7. Advertisement Display Operation                                      FIG. 6 is a diagram illustrating a configuration of a service
  When the mobile communication terminal 100 is in the             25   providing system (server) for enabling a specific function to
inactive state, the activation button 120 is pressed so that an         be operated when the mobile communication terminal is acti
advertisement can be displayed on at least apart of the display         vated according to an exemplary embodiment of the present
unit 110. The advertisement display can be implemented by               invention.
displaying an advertisement provided from an external server               Referring to FIG. 6, the service providing server 200 can
in real time, and driven by an advertisement-related applica       30   include an application providing unit 210, an activation sens
tion previously installed within the mobile communication               ing unit 220, an application driving unit 230, a communica
terminal 100.                                                           tion unit 240, and a control unit 250. According to an exem
   This application for enabling the advertisement to be dis            plary embodiment of the present invention, the application
played may be received in advance from an advertisement                 providing unit 210, the activation sensing unit 220, the appli
distribution server, an advertiser server, or a server for pro     35   cation driving unit 230, the communication unit 240, and the
viding a service according to an exemplary embodiment of                control unit 250 of the service providing server 200 can be
the present invention, that is, a service for driving a predeter        program modules or hardware communicable with an exter
mined application according to a button input that Switches             nal apparatus. The program modules or hardware can be
the mobile communication terminal 100 from the inactive                 included in the service providing server 200 or another appa
state to the active state.                                         40   ratus communicable with the service providing server 200 in
   An advertisement display method can be implemented by                the form of an operation system, an application program
a method of randomly displaying advertisements of advertis              module, and other program modules, and physically stored in
ers joining this service, a customized advertisement display            various known storage apparatuses. On the other hand, these
method based on user information, and an advertisement                  program modules or hardware include a routine, a Sub rou
display method based on a current location.                        45   tine, a program, an object, a component, and a data structure,
   The user information can be pre-stored in a corresponding            each of which executes a specific task to be described later or
application and pre-transmitted to a server that provides an            specific abstract data, but the present invention is not limited
advertising service. On the other hand, location information            thereto.
collection necessary for the advertisement display method                 The application providing unit 210 enables the predeter
based on the current location can be used in conjunction with      50   mined application described above to be transmitted to the
4. Location Information Function described above. That is,              mobile communication terminal 100. The user can receive a
current location information is collected simultaneously with           desired application by accessing the service providing server
the activation of the mobile communication terminal 100 and             200 through the mobile communication terminal 100, and
transmitted to an advertising-service providing server. Based           install the received application within the mobile communi
on the current location information, advertisements related to     55   cation terminal 100. The application can include a control
the current location are distributed to the mobile communi              function of controlling a predetermined operation to be per
cation terminal 100.                                                    formed when the mobile communication terminal 100 is acti
  8. Other Application Operations                                       vated, and can independently perform the predetermined
  If a predetermined operation is performed instead of                  operation. For example, the application transmitted from the
Switching to a simple active state by pressing the activation      60   application providing unit 210 can be an application for
button 120 when the mobile communication terminal 100 is                enabling an advertisement to be displayed on the display unit
in the inactive state, this belongs to the scope of the present         110 when the mobile communication terminal 100 is
invention.                                                              switched from the inactive state to the active state.
   For example, an entertainment operation (for example, an               The activation sensing unit 220 according to an exemplary
operation of a music or video player, execution of a game          65   embodiment can sense the Switching of the mobile commu
application, or news reception) can be performed by pressing            nication terminal 100 from the inactive state to the active
the activation button 120.                                              state. The user can transmit a signal indicating the activation
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                              11                                                                     12
of the mobile communication terminal 100 to the service                     The embodiments according to the present invention
providing server 200 by pressing the activation button of the            described above may be implemented in the form of program
mobile communication terminal 100.                                       instructions that may be executed through various computer
  The application driving unit 230 according to an exemplary             components and recorded on a computer-readable medium.
embodiment enables a predetermined operation to be per                   The computer-readable medium may include program
formed in the mobile communication terminal 100 when the                 instructions, data files, data structures, and the like individu
activation of the mobile communication terminal 100 is                   ally or in combination. The program instructions recorded on
sensed. That is, the application driving unit 230 drives a               the medium may be specifically designed for the present
predetermined application within the mobile communication                invention or may be well known to one of ordinary skill in the
terminal 100 and enables a related screen to be displayed on        10   art of software. Examples of the computer-readable recording
the display unit 110. For example, if the activation of the              medium include a magnetic medium Such as a hard disk, a
mobile communication terminal 100 is sensed, an advertise                floppy disk, or a magnetic tape, an optical medium Such as a
ment-related application can be executed. The application                compact disc-read only memory (CD-ROM) or a digital ver
driving unit 230 can perform an additional operation related             satile disc (DVD), a magneto-optical medium Such as a flop
to driving of a corresponding application. For example, an          15   tical disk, and a hardware device such as ROM, a random
application for enabling an advertisement to be displayed is             access memory (RAM), or a flash memory that is specially
driven to receive current location information and control               designed to store and execute program instructions.
advertisement information related to a corresponding loca                Examples of the program instructions include not only
tion to be displayed on the display unit 110 of the mobile               machine code generated by a compiler or the like but also
communication terminal 100. In addition, it is possible to               high-level language codes that may be executed by a com
collect user information (for example, a sex, an age, a region           puter using an interpreter or the like. The hardware device
of residence, a matter of interest, and the like) and control            described above may be constructed so as to operate as one or
advertisement information customized for a corresponding                 more software modules for performing the operations of the
user to be displayed. Necessary advertisement information                embodiments of the present invention, and vice versa.
(for example, advertisement information to be transmitted to        25      Although the present invention has been described with
the mobile communication terminal 100 based on location                  reference to the specific embodiments and drawings together
information or user information) can be transmitted from an              with specific details such as detailed components, the above
advertiser server or an advertisement distribution server. As            description is provided only for better understanding of the
described above, the application driving unit 230 can drive a            present invention and it will be apparent to those skilled in the
predetermined application simultaneously with the activation        30   art that various modifications and variations may be made
within the mobile communication terminal 100 and perform                 from the above description.
an additional operation for optimally driving the application.              While exemplary embodiments have been disclosed
  The communication unit 240 according to an exemplary                   herein, it should be understood that other variations may be
embodiment makes information communication between the                   possible. Such variations are not to be regarded as a departure
service providing server 200, the mobile communication ter          35   from the spirit and scope of exemplary embodiments of the
minal 100, and another apparatus possible. That is, the com              present application, and all Such modifications as would be
munication unit 240 can transmit an application to the mobile            obvious to one skilled in the art are intended to be included
communication terminal 100 and receive an activation signal              within the scope of the following claims.
and information for driving the application from the mobile
communication terminal 100.                                         40     What is claimed is:
  The control unit 250 according to an exemplary embodi                    1. A mobile communication terminal comprising:
ment can perform a function of controlling data flows                      a display unit; and
between the application providing unit 210, the activation                 an activation button configured to Switch from an inactive
sensing unit 220, the application driving unit 230, and the                   state, which is an OFF state of the display unit, to an
communication unit 240. That is, the control unit 250 accord        45        active state, which is an ON state of the display unit; and
ing to the exemplary embodiment can control the application                a user identification unit configured to operate a user iden
providing unit 210, the activation sensing unit 220, the appli                tification function,
cation driving unit 230, and the communication unit 240 to                  wherein the user identification function is performed
perform unique functions.                                                      simultaneously with Switching from the inactive state of
   According to exemplary embodiments of the present                50         the display unit to the active state of the display unit by
invention, it is possible to enable an advantageous function to                pressing the activation button,
be utilized and improve an interest of a terminal user because              wherein the user identification function includes a finger
various operations can be performed only by pressing an                        print recognition.
activation button when a terminal is in an inactive state.                  2. The mobile communication terminal according to claim
   According to exemplary embodiments of the present                55   1, wherein the activation button internally includes a sub
invention, it is possible to enable health check of an aged              display unit.
person to be performed with a simple operation and enable                   3. The mobile communication terminal according to claim
information regarding the health check to be transmitted to a            1, wherein the user identification function differs according to
protector or a medical authority.                                        the number of presses or a press time of the activation button.
   According to exemplary embodiments of the present                60      4. The mobile communication terminal according to claim
invention, it is possible to enable a user authentication process        3, further comprising a predetermined clock circuit or timerto
of which the security is enhanced to be operable with only a             measure a period of time for which the activation button is
simple procedure.                                                        pressed for determining whether the activation button is
   According to exemplary embodiments of the present                     pressed for a short time or a long time,
invention, it is possible to enable an urgent message to be         65      wherein the activation button is determined as being
transmitted along with location information with only a                        pressed for a long time when the period of time is equal
simple operation in an urgent situation.                                      or more than threshold time.
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                                13                                                                       14
   5. The mobile communication terminal according to claim                    10. The method of claim 9, wherein the performing of the
4, wherein the user identification function is performed if the            user identification process differs according to the number of
activation button is pressed for a long time.                              presses or a press time of the activation button.
   6. The mobile communication terminal according to claim                    11. The method of claim 10, further comprising measuring
3, further comprising a predetermined clock circuit or timerto             a period of time for which the activation button is pressed to
calculate the cumulative number of continuous presses of the               determine whether the activation button is pressed for a short
activation button for determining whether the activation but               time or a long time,
                                                                              wherein the activation button is determined as being
ton is pressed once or multiple times,                                          pressed for the longtime when the period of time is equal
   wherein the number of presses is determined as being               10        or longer thana threshold time, and the activation button
      pressed multiple times when the activation button is                      is determined as being pressed for the short time when
      re-pressed within a threshold time after a first press.                   the period of time is shorter than the threshold time.
   7. The mobile communication terminal according to claim                    12. The method of claim 11, wherein the performing of the
6, wherein the user identification function is performed if the            user identification process is performed if the activation but
activation button is pressed multiple times.                          15
                                                                           ton is pressed for the long time.
   8. The mobile communication terminal according to claim                    13. The method of claim 10, further comprising calculating
1, wherein, the fingerprint recognition is performed by com                the cumulative number of continuous presses of the activation
paring a fingerprint acquired by the activation button to pre              button to determine whether the activation button is pressed
stored fingerprint information of a user.                                  once or multiple times,
   9. A method of performing a user identification for a                      wherein the number of presses is determined as being
mobile communication terminal, the method comprising:                           pressed multiple times when the activation button is
   sensing whether or not an activation button has been                         re-pressed within a threshold time after a first press.
      pressed to switch from an inactive state, which is an OFF               14. The method of claim 13, wherein the performing of the
      state of a display unit, to an active state, which is an ON          user identification process is performed if the activation but
      state of the display unit; and                                  25
                                                                           ton is pressed multiple times.
   performing a user identification process by a fingerprint                  15. The method of claim 9, wherein the performing of the
      recognition simultaneously with Switching from the                   user identification process comprises comparing a fingerprint
      inactive state of the display unit to the active state of the        acquired by the activation button to pre-stored fingerprint
                                                                           information of a user.
      display unit if the pressing of the activation button is
     sensed.
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          Exhibit “B”
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(12) United States Patent                                                (10) Patent No.:     US 9,633,373 B2
       Jung et al.                                                       (45) Date of Patent:    *Apr. 25, 2017
(54) ACTIVATING DISPLAY AND PERFORMING                              (58) Field of Classification Search
       ADDITIONAL FUNCTION IN MOBILE                                        CPC ......... H04W 4/02; H04W 12/08; H04W 8/22:
       TERMINAL WITH ONE-TIME USER INPUT                                              H04W 52/027; H04W 12/06; H04M 1/67;
                                                                                              (Continued)
(71) Applicant: FIRSTFACE CO., LTD., Seoul (KR)
                                                                    (56)                   References Cited
(72) Inventors: Jae Lark Jung, Goyang-si (KR);                                      U.S. PATENT DOCUMENTS
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(73) Assignee: FIRSTFACE CO., LTD., Seoul (KR)                             6,532,298 B1     3/2003 Cambier et al.
                                                                                              (Continued)
(*) Notice:       Subject to any disclaimer, the term of this
                  patent is extended or adjusted under 35                        FOREIGN PATENT DOCUMENTS
                  U.S.C. 154(b) by 0 days.
                                                                    CN             1014.52365. A       6, 2009
                  This patent is Subject to a terminal dis          EP                1990734 A1      11, 2008
                  claimer.                                                                    (Continued)
(21) Appl. No.: 14/848,156                                                           OTHER PUBLICATIONS
(22) Filed:       Sep. 8, 2015                                      International Search Report dated Mar. 20, 2013 of corresponding
                                                                    PCT Application PCT/KR2012/008470 (WO/2013/058533).
(65)                 Prior Publication Data
                                                                                              (Continued)
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                                                                    Primary Examiner — Charles Shedrick
                                                                    (74) Attorney, Agent, or Firm — Knobbe Martens Olson
            Related U.S. Application Data                           & Bear LLP

(63) Continuation of application No. 14/538,880, filed on           (57)                    ABSTRACT
     Nov. 12, 2014, now Pat. No. 9,179,298, which is a              Disclosed is a mobile terminal including a touch screen
                      (Continued)                                   display, a camera, a power button and an activation button
(30)         Foreign Application Priority Data                      for turning on the touch screen display. The mobile terminal
                                                                    has a first function and a second function to perform in
  Oct. 19, 2011     (KR) ........................ 10-2011-O106839   response to user input and provides user settings for con
                                                                    figuring at least one of the first and second functions such
                                                                    that the at least one of the first and second functions is
(51) Int. Cl.                                                       performed along with turning on the touch screen display
       H04M I/00              (2006.01)                             when pressing of the activation button is detected while the
       G06O 30/02             (2012.01)                             touch screen display is turned off. The mobile terminal is
                        (Continued)                                 configured to perform the first and second functions depend
(52) U.S. Cl.                                                       ing upon length of pressing of the activation button in
       CPC ..... G06O 30/0262 (2013.01); G06F 3/04883               addition to turning on the touch screen display.
                         (2013.01); G06F 2 1/32 (2013.01);
                        (Continued)                                                18 Claims, 5 Drawing Sheets




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                                  FIG.
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                                  FIG. 2
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                              FIG. 4A


                  Activation sensing unit

                  User icientification unit




                              FIG. 4B


                Carrera activation eierrent


                    iris detection eierrett


                User identification element
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